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             6
             7    Attorneys for Plaintiffs

             8                                         UNITED STATES DISTRICT COURT
             9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                             SAN FRANCISCO DIVISION
           11
           12
                  BMA LLC, Yaroslav Kolchin, Vitaly                       Case No. 3:20-cv-3345-WHO
           13     Dubinin, Dmitry Dolgov and Păun Gabriel-
                  Razvan,
           14                                                             DECLARATION OF PAVEL
                                                                          POGODIN, ESQ. IN SUPPORT OF
           15                             Plaintiffs,                     PLAINTIFFS’ RESPONSE TO
                                                                          DEFENDANTS’ ADMINISTRATIVE
           16                                                             MOTION PER CIVIL LOCAL RULE 7-
                                   v.                                     11
           17
                                                                          Complaint Filed: May 16, 2020
           18                                                             Second Amended Complaint Filed: July
                  HDR Global Trading Limited (A.K.A.                      14, 2020
           19     BitMEX), ABS Global Trading Limited,                    Consolidated Complaint Filed: November
                  Grape Park LLC, Mark Sweep LLC,                         25, 2020
           20     Unknown Exchange, Arthur Hayes, Ben Delo,
                  Samuel Reed, Agata Maria Reed (A.K.A.
           21     Agata Maria Kasza), Barbara A. Reed and                 Discovery Cutoff: None Set
                  Trace L. Reed,                                          Pretrial Conference Date: None Set
           22                                                             Trial Date: None Set

           23                             Defendants.

           24
           25
           26     I, Pavel I. Pogodin, state and declare as follows:
           27     1.     I am an attorney of record in this action for Plaintiffs BMA LLC, Yaroslav Kolchin,
           28
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  ATTORNEYS             DECLARATION OF PAVEL POGODIN                -1-        BMA LLC V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                Document 111-1   Filed 12/17/20                Page 2 of 2



             1
                         Vitaly Dubinin, Dmitry Dolgov and Păun Gabriel-Razvan. I am a member in good
             2
                         standing of the Bar of the State of California, and I am admitted to practice before this
             3
                         Court. I have personal knowledge of the matters set forth in this declaration, and if called
             4
                         upon to do so, I would willingly and competently testify as to those matters.
             5
                  2.     A true and correct copy of a table containing a summary of certain untruthful factual
             6
                         statements of Fugitive-Defendant Hayes and Fugitive-Defendants’ counsel Stephen
             7
                         Hibbard and Peter Altman to various Courts as well as true facts is attached as Exhibit A.
             8
                  3.     A true and correct copy of a letter I sent to Fugitive-Defendants’ counsel Stephen Hibbard
             9
                         on or about September 28, 2020, is attached hereto as Exhibit B.
           10
                         I declare under penalty of perjury under the laws of the United States of America that the
           11
                  foregoing is true and correct.
           12
                         Executed on December 17, 2020, in Carolina, Puerto Rico.
           13
                                                                        By:        /s/ Pavel I. Pogodin
           14                                                                      Pavel I. Pogodin
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CRYPTOCURRENCY
  ATTORNEYS             DECLARATION OF PAVEL POGODIN              -2-         BMA LLC V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
